      Case 5:05-cr-40095-JAR         Document 103        Filed 11/19/07     Page 1 of 18




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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS



UNITED STATES OF AMERICA,                   )
                                            )
                      Plaintiff,            )
                                            )
       vs.                                  )       Case No. 05-40095-01,03-JAR
                                            )
BO CHENG FENG and                           )
CHUN XIOA YUAN,                             )
                                            )
                      Defendants.           )
                                            )

                         MEMORANDUM ORDER AND OPINION

       This matter is before the Court on several pretrial motions filed by defendant Bo Cheng

Feng, joined by defendant Chun Xioa Yuan: Motion to Change Venue (Doc. 49); Motion for

Discovery (Doc. 52); Motion to Dismiss Count 1 (Doc. 53); Motion for Bill of Particulars (Doc.

54); Motion to Sever (Doc. 69). A hearing was held on August 14, 2006, after which time the

Court took the matters under advisement. Counsel for defendant Feng, Alex Kessel, was

subsequently disqualified,1 and new counsel was appointed. After several extensions of time

were granted to file additional or supplemental pretrial motions, a second motions hearing was

held on September 28, 2007, at which time counsel for both defendants stated that they had no

additional submissions on the pending motions. Prior to that hearing, defendant Feng filed a

Motion for Recess, Continuance or in the Alternative, Withdrawal (Doc. 98), and defendant

Yuan filed a Motion for Turnover of Exculpatory Evidence (Doc. 100) and Request for Giglio



       1
        (Doc. 77.)
      Case 5:05-cr-40095-JAR          Document 103        Filed 11/19/07      Page 2 of 18




Information (Doc. 101). The Court ruled on several motions from the bench, and took the

remaining motions under advisement. After considering the parties’ submissions and arguments,

the Court is prepared to rule.

Background

       On June 27, 2004, two Chinese nationals driving a black Lexus were stopped on

Interstate 70 by the Russell County, Kansas Sheriff’s Department for a traffic violation. As the

deputy was about to conduct a consent search of the vehicle’s trunk, the driver, a woman named

Cui Qin Zhang, drove away at a high speed, with her passenger, Shao Mou Chen. The two led

the deputy on a high-speed chase that ended when the vehicle crashed. Zhang and Chen were

thrown from the vehicle, as were quantities of controlled substances. Troopers from the Kansas

Highway Patrol investigated the accident and searched the car, finding fifteen kilograms of

cocaine and 69,482 dosage units of ecstacy.

       Zhang was charged with drug-related offenses from the stop and the accident. The case

was tried to a jury and Zhang was found guilty and was eventually sentenced to fifteen years in

prison. Chen pled guilty to similar charges, testified against Zhang at trial, and was sentenced to

81 months’ imprisonment.

       On December 28, 2005, defendants Feng and Yuan were indicted for conspiracy to

possess and distribute, and possession with intent to distribute, the drugs found in the Lexus

driven by Zhang, as well as for 139 marijuana plants.

Analysis

       1.      Motion to Change Venue

       Defendants request that the Court change venue to the Central District of California. The


                                                 2
      Case 5:05-cr-40095-JAR          Document 103        Filed 11/19/07      Page 3 of 18




cocaine and ecstacy charges derive from the June 27, 2004 seizure of those drugs from alleged

co-conspirators Zhang and Chen, during a traffic stop in Kansas. Chen told the government that

defendant Feng approached him to transport cocaine and ecstacy from Los Angeles to Ohio, that

Feng placed the drugs in the car, and was to pay Zhang and Chen for the delivery. The

marijuana allegation arises out of the March 2005 seizure of 139 marijuana plants from a garage

in San Gabriel, California. Defendants argue that the proper venue for the conspiracy to

distribute marijuana charge is in the Central District of California because the crime occurred in

Los Angeles. They also contend that there is no evidence of any overt acts committed in Kansas

in furtherance of a conspiracy to distribute the marijuana seized in Los Angeles, and that the

activity connecting the alleged conspiracy to the district of Kansas is happenstance as the

marijuana at issue was found in California.

       Defendants first assert that venue is not proper in the District of Kansas. Defendants

argue that two recent Supreme Court decisions, United States v. Cabrales2 and United States v.

Rodriguez-Moreno,3 which differentiate between essential and non-essential elements of

offenses, effectively eliminate the “overt act” test for determining venue in a drug conspiracy

charge. The Court disagrees.

        In United States v. Cabrales, the Supreme Court found that Missouri was not the proper

venue for a money laundering crime that, from start to finish, occurred entirely in Florida.4

Citing 18 U.S.C. § 3237(a), which deals with continuing crimes, the Court explained that



       2
        524 U.S. 1 (1998).
       3
        526 U.S. 275 (1999).
       4
        Cabrales, 524 U.S. at 6.

                                                 3
      Case 5:05-cr-40095-JAR             Document 103     Filed 11/19/07      Page 4 of 18




offenses “begun in one district and completed in another” may be “prosecuted in any district in

which [the] offense was begun, continued, or completed.”5 In explaining why venue was not

proper in Missouri on the money laundering count, the Court emphasized that money laundering

“might rank as a ‘continuing offense,’ triable in more than one place, if the launderer acquired

the funds in one district and transported them to another.”6 But in Cabrales, the defendant did

not acquire the funds in Missouri nor did she transfer the funds from Missouri to Florida—she

only laundered the money through a series of transactions that took place entirely in Florida.7

The Court determined that venue was not proper in Missouri because the defendant’s money

laundering activities occurred after the commencement and completion of a drug conspiracy

offense committed by others.8

       In United States v. Rodriguez-Moreno, the crime was the use of a gun during a crime of

violence under 18 U.S.C. § 924(c) that spanned a number of states.9 The defendant kidnaped an

individual in Texas, who was transported to New Jersey then Maryland. While in Maryland,

defendant obtained a gun and used it to threaten his captive. The defendant was ultimately tried

and convicted in New Jersey. The Supreme Court found venue was proper in any of the districts

in which this crime of violence was committed.10

       The Rodriguez-Moreno Court held that venue in New Jersey was proper because the


       5
        Id. at 7.
       6
        Id. at 8.
       7
        Id.
       8
        Id.
       9
        Rodriguez-Moreno, 526 U.S. at 278.
       10
           Id. at 281.

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      Case 5:05-cr-40095-JAR          Document 103         Filed 11/19/07      Page 5 of 18




commission of the crime of violence, the kidnaping charge, was an essential element of the

§ 924(c) gun charge.11 In addition, the gun was used “during and in relation to” the kidnaping,

and because the kidnaping charge was a continuing offense, venue was held to be proper in any

district in which the kidnaping “was begun, continued, or completed.”12 The Court distinguished

the facts in Cabrales by characterizing the underlying drug conspiracy that generated the

criminally-derived proceeds as a “circumstance element” of money laundering, which was

insufficient to establish venue.13 In Rodriguez-Moreno, however, the underlying crime of

violence (kidnaping) was an “essential element” of the § 924(c) firearm offense, providing an

adequate basis for venue.14

       Defendants argue that the principles of Cabrales and Rodriguez-Moreno dictate a finding

that there is no jurisdiction in Kansas because all of the elements of the conspiracy are alleged to

have occurred in California. Defendants are charged with conspiracy in violation of 21 U.S.C. §

846. The elements of that offense include agreement and intent. Since an overt act in

furtherance of the drug conspiracy is not an element of this offense, defendants argue that venue

is improper because no element occurred in Kansas. Defendants argue that the nature of the

offense as defined by its elements requires an agreement to commit a violation of the controlled

substances law and that agreement allegedly occurred in California. Because the act of

transporting the drugs through Kansas is not an element of the offense, defendants argue, there is



       11
         Id.
       12
         Id. at 282.
       13
         Id. at 280, n.4.
       14
         Id. at 281.

                                                 5
        Case 5:05-cr-40095-JAR                Document 103             Filed 11/19/07          Page 6 of 18




no connection with this district.

          The Tenth Circuit has addressed the issue of proper venue in a drug conspiracy case,

including the “overt acts” test for determining venue, subsequent to Cabrales and Rodriquez-

Moreno. In United States v. Hernandez-Dominquez,15 the court reiterated that venue can be

proper, in a prosecution for possession with intent to distribute and conspiracy to distribute, in

the district in which the defendant was arrested in a vehicle transporting drugs, even though the

illicit agreement underlying the conspiracy had allegedly been formed in another state.16

         Further, in United States v. Cryar,17 the Tenth Circuit held that venue over charges of

attempted sexual abuse was proper in the district in which the offense was interrupted.18 The key

question in determining the issue was whether the offense of attempted sexual abuse was a

continuing offense. The court found that 18 U.S.C. § 3237 applied and prosecution would thus

be permitted in any district in which an overt act in furtherance of the conspiracy was

committed, if the charge at issue were determined to be a continuing offense.19 Thus, the Tenth

Circuit has recently held that the key to using the “overt acts” test to determine venue is whether

the charge at issue is a continuing offense. Because conspiracy is a continuing offense,20 venue

in Kansas is proper.



         15
           No. 99-3305, 2001 WL 13278 (10th Cir. Jan. 5, 2001), cert. denied, 532 U.S. 950 (2001).
         16
           Id. at *5.
         17
           232 F.3d 1318 (10th Cir. 2000).
         18
           Id. at 1322-23.
         19
           Id. at 1322.
         20
            See United States v. Jaynes, 75 F.3d 1493, 1505 (10th Cir. 1996) (“Conspiracy, . . . is the prototypical
continuing offense.”) (citation omitted).

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      Case 5:05-cr-40095-JAR             Document 103          Filed 11/19/07   Page 7 of 18




       The Court is not persuaded by defendants’ arguments. In fact, the Fourth Circuit rejected

similar arguments made by defendants in United States v. Mitchell.21 In rejecting the defendant’s

argument that Rodriguez-Moreno and Cabrales imposed a significant limitation on permissible

venues, the court held that venue was proper on a drug conspiracy count in the district where

defendants transported drugs.22 The court noted that significantly, both Supreme Court cases

emphasized that the law regarding venue in conspiracies remains the same: venue is proper for a

conspiracy wherever the agreement was made or where any conspirator carried out overt acts.23

In Mitchell, the drug conspiracy involved the sale of drugs in Washington, D.C., transported

through Virginia and distributed in North Carolina.24 The court held that the transportation of

the drugs through Virginia “was an act in furtherance of the conspiracy and was essential to the

distribution of those drugs in North Carolina.”25 The court distinguished the case from the facts

in Cabrales because Mitchell was charged with a drug conspiracy count that was “ongoing and

intertwined with the money laundering count” and the conspiracy continued for approximately

eleven years and stopped only upon Mitchell’s arrest.26 In Cabrales, the defendant was not

charged in connection with the drug conspiracy—the only allegation was that defendant

laundered money that resulted from a completed drug conspiracy.27


       21
         No. 02-4618, 2003 WL 21757309 (4th Cir. July 31, 2003).
       22
         Id. at *5.
       23
         Id.
       24
         Id.
       25
         Id.
       26
         Id.
       27
         Id.

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       Case 5:05-cr-40095-JAR                Document 103           Filed 11/19/07         Page 8 of 18




        The Court agrees with the reasoning of the Fourth Circuit and concludes in this case that

the acts of defendants Feng and Yuan and their alleged co-conspirators in the District of Kansas

were essential in furthering the drug conspiracy and are sufficient to establish venue on the drug

conspiracy counts. It is settled principle that the overt act of one conspirator in the district

suffices to establish venue for all other co-conspirators in that district.28 The overt act or acts

necessary to support venue in a conspiracy case do not have to be substantial. Defendants

allegedly engaged in a drug conspiracy that involved the sale of drugs in California, the

transportation of these drugs across the United States, including through Kansas, and the

distribution of the drugs in Ohio and other states. The transportation of the drugs through

Kansas by co-conspirators Zhang and Chen was an act in furtherance of the conspiracy and

essential to the distribution of those drugs in Ohio and elsewhere. The facts of this case are

distinguishable from Cabrales because defendants are charged with a drug conspiracy count that

was ongoing. In Cabrales, the defendant was not charged in connection with the drug

conspiracy, but with laundering money that resulted from a completed drug conspiracy.

        In sum, a co-conspirator’s transportation of drugs through Kansas is a sufficient nexus to

Kansas to allow for indictment and prosecution in this district on conspiracy drug charges.

Accordingly, defendants’ motion to change venue as improper is denied.

        Defendants argue alternatively that if venue is proper in Kansas, it should be changed

based on convenience, pursuant to Fed. R. Crim. P. 21(b). That rule provides that “the court may

transfer the proceeding, or one or more counts, against the defendant to another district for the



        28
        See, e.g., United States v. Miller, 111 F.3d 747, 753, n.8 (10th Cir. 1997); United States v. Lopez, No. 02-
40021-RDR, 2002 WL 31498984, at *2 (D. Kan. Sept. 5, 2002); United States. v. Hernandez-Dominquez, No. 98-
40116-RDR, 1999 WL 803151, at *1 (D. Kan. Sept. 2, 1999).

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       Case 5:05-cr-40095-JAR                Document 103           Filed 11/19/07         Page 9 of 18




convenience of the parties and witnesses and in the interest of justice.”29

        The proper venue for criminal actions is normally “in the district in which the offense

was committed.”30 As previously established, venue is proper in conspiracy prosecutions in any

district where the conspiracy was formed or in any district where an overt act in furtherance of

the conspiracy was performed.31 The Supreme Court has suggested that the following factors

should be considered in determining whether a requested transfer in a criminal case is in the

interest of justice: (1) location of the defendants; (2) location of possible witnesses; (3) location

of events likely to be an issue; (4) location of documents and records likely to be involved; (5)

disruption of defendant’s business unless case is transferred; (6) expense of the parties; (7)

location of counsel; (8) relative accessibility of place of trial; (9) docket condition of each

district or division involved; and (10) any other special elements which might affect the

transfer.32 The burden is on the defendant to justify a transfer under Rule 21(b).33 “[C]hange of

venue in a criminal case is discretionary, and a trial judge’s decision on the matter is entitled to

deference.”34

        Defendants argue it is more convenient for the case to be tried in California, as most of

the witnesses are in California and it is easier to get an interpreter in that state. The government



        29
          Fed. R. Crim. P. 21(b).
        30
          Fed. R. Crim. P. 18.
        31
          Miller, 111 F.3d at 753, n.8.
        32
          Platt v. Minn. Mining & Mfg. Co., 376 U.S. 240, 243-44 (1964).
        33
          In re United States, 273 F.3d 380, 388 (3d Cir. 2001).
        34
           United States v. Williams, 897 F.2d 1034, 1036 (10th Cir. 1990) (quoting United States v. Hunter, 672
F.2d 815, 816 (10th Cir. 1982)).

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      Case 5:05-cr-40095-JAR          Document 103        Filed 11/19/07      Page 10 of 18




opposes change of venue for the convenience of the parties, and submits that these factors are

either neutral or support retaining venue in Kansas.

       In applying the various factors noted above to the circumstances of this case, the Court

concludes that a transfer is not appropriate. The government has stated that, in addition to the

witnesses of the first interdiction in Kansas, the government will likely offer witnesses from

California, many of whom will be custodians of records. Both defendants are presently held in

custody in Kansas. Although there appears to be no question the conspiracy was based in

California, the alleged organization involved trafficking throughout the United States. Most of

the numerous documents and records are located in California, but the government has made

arrangements for defense counsel to have access to these materials. Defendants are represented

by court appointed counsel in Topeka and Wichita.

       By contrast, transfer of venue to California would result in great expense to the

government. Because of the heavy caseload in that district, the government submits that it is

unlikely that the United States Attorney’s Office for the Central District of California would be

willing or able to take over this case, which would necessitate the Topeka prosecutor and his

staff to be detailed to Los Angeles. Accordingly, the Court finds that the factors applicable in

this case do not overwhelmingly command granting the defendants’ motion.

       2.      Motion for Discovery

       At the September 28, 2007 hearing, the Court took the first discovery matter under

advisement, and is now prepared to rule. The Court ruled from the bench on the remaining

matters:

       a.      Grand Jury Minutes and Testimony


                                                10
      Case 5:05-cr-40095-JAR               Document 103           Filed 11/19/07        Page 11 of 18




        Defendants request: (1) all books, papers, documents, statements and tangible objects

containing the grand jury testimony of any witness who testified before the Grand Jury and who

the government expects to testify at trial; and (2) all books, papers, documents, statements and

tangible objects containing the grand jury testimony of any other witnesses not included herein

above whose testimony before the grand jury will be relevant or material to the preparation of

the defense of defendant. At the hearings, defense counsel clarified that they are only concerned

with Giglio materials and statements. The government opposes the request.

        The Tenth Circuit has held that “‘[p]arties seeking grand jury transcripts under Rule 6(e)

must show that the material they seek is needed to avoid a possible injustice in another judicial

proceeding, that the need for disclosure is greater than the need for continued secrecy, and that

their request is structured to cover only material so needed.’”35 The Court finds that defendants

have failed to show that this broad request for grand jury materials is necessary to avoid injustice

or to advance a substantial interest in this case. Defendants have attempted to particularize their

request by limiting it to Giglio materials and statements, but offer no specifics as to the nature of

what they are seeking, other than anything that is exculpatory. Such speculation cannot establish

a “particularized need” for the production of grand jury materials. Moreover, exculpatory

evidence known to the government must be produced to defendant by the government, including

grand jury materials.36 Defendants’ motion is denied, except to the extent such material is Brady

or Giglio material.

        b.       Witness Lists, Statements and Related Matters


        35
          In re Lynde, 922 F.2d 1448, 1451-52 (10th Cir. 1991) (quoting Douglas Oil Co. v. Petrol Stops Northwest,
441 U.S. 211, 222 (1979)).
        36
          See General Order of Discovery and Scheduling (Doc. 7 at 2.)

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     Case 5:05-cr-40095-JAR          Document 103        Filed 11/19/07       Page 12 of 18




               •      the parties are to exchange the names and qualifications of

                      expert witnesses no later than 30 days before trial;

               •      defendants’ request for names and addresses of all persons

                      interviewed in connection with this litigation is overruled

                      and denied, except to the extent such information is Jencks

                      or Brady material;

               •      defendants’ request for names and addresses of all

                      witnesses, along with statements of the witnesses, is

                      overruled and denied, except to the extent such information

                      is Jencks or Brady material;

               •      defendants’ request for plea agreements and PSIRs of co-

                      defendants and related defendants is granted with respect to

                      unsealed plea agreements and overruled and denied with

                      respect to the PSIRs and sealed pleadings; and

               •      defendants’ request for impeachment information regarding

                      witnesses, including cooperating defendants, is granted.

       3.      Motion to Dismiss Count 1 of the Indictment

       Defendants are named in a First Superseding Indictment alleging in Count 1 that they

knowingly and willfully conspired with others to distribute controlled substances, to wit, 15

kilograms of cocaine, 15 kilograms of ecstacy, and 139 marijuana plants in violation of 21

U.S.C. § 846; Count 2 charges that they knowingly possessed with intent to distribute 15

kilograms of cocaine in violation of 21 U.S.C. § 841(a)(1); and Count 3 charges that they


                                                12
      Case 5:05-cr-40095-JAR               Document 103           Filed 11/19/07         Page 13 of 18




knowingly possessed with intent to distribute 15 kilograms of ecstacy in violation of 21 U.S.C. §

841(a)(1).

       Offenses that are of “the same or similar character, or are based on the same act or

transaction, or are connected with or constitute parts of a common scheme or plan” may be

charged in separate counts of one indictment.37 “A duplicitous indictment charges the defendant

with two or more separate offenses in the same count.”38 “The dangers of duplicity are three-

fold: (1) [a] jury may convict a defendant without unanimously agreeing on the same offense; (2)

[a] defendant may be prejudiced in a subsequent double jeopardy defense; and (3) [a] court may

have difficulty determining the admissibility of evidence.”39

       Defendants contend that Count 1 of the Superseding Indictment is duplicitous because

the marijuana allegation contained within is a crime separate and distinct from the conspiracy to

distribute cocaine and ecstacy. Defendants argue that this language alleges two different

conspiracies in one count and affords the government the opportunity to “bootstrap” their

involvement with marijuana to the conspiracy involving cocaine and ecstacy.

       The Court disagrees with defendants’ characterization of Count 1. The Tenth Circuit has

explained that:

                  Listing three different drugs, or three different crimes, in a single
                  count of conspiracy is not necessarily duplicitous. A charge of
                  conspiracy is an allegation that an agreement occurred to commit
                  one or more crimes. In other words, it is the agreement which
                  constitutes the conspiracy, not the individual drug crimes that are



       37
         Fed. R. Crim. P. 8(a).
       38
         United States v. Trammel, 133 F. 3d 1343, 1354 (10th Cir. 1998) (citation omitted).
       39
         Id. (quoting United States v. Wiles, 102 F.3d 1043, 1061 (10th Cir. 1992)).

                                                       13
       Case 5:05-cr-40095-JAR               Document 103              Filed 11/19/07      Page 14 of 18




                 the object of the conspiracy.40

In this case, Count 1 of the Superseding Indictment charges defendants with entering into a

single conspiracy to distribute each of the drugs listed. Accordingly, the actual crime charged in

Count 1 is the agreement aspect of the conspiracy itself, and that the distribution of cocaine,

ecstacy and marijuana constitute the means to carry out that agreement. Although the marijuana

was not present when defendant’s co-conspirators were arrested in Kansas, the government

contends that the evidence will show that marijuana was part of the same overarching conspiracy

to distribute controlled substances across state lines. Moreover, whether there is a single or

multi-conspiracy is a jury question.41 Any questions arising after the evidence comes in at trial

may be addressed by the use of special verdict forms that allow a jury to express unanimity as to

each of the separate drugs or crimes listed.42 Defendants’ motion to dismiss is denied.

        4.       Bill of Particulars

        Rule 7(f) of the Federal Rules of Criminal Procedure allows a court to issue a bill of

particulars at its discretion. The bill of particulars is designed to “inform the defendant of the

charge against him with sufficient precision to allow him to prepare his defense.”43 The court’s

primary concern when reviewing a motion for a bill of particulars is whether the defendant has:

(1) a meaningful opportunity to prepare his or her defense, (2) assurances against unfair surprise




        40
          United States v. Kell, 41 Fed. App’x 350, 354 (10th Cir. 2002) (citing Braverman v. United States, 317
U.S. 49, 53-54 (1942)).
        41
          United States v. Otis, 127 F.3d 829, 835 (9th Cir. 1997).
        42
          Trammel, 133 F.3d at 1353-54.
        43
          United States v. Ivy, 83 F.3d 1266, 1281 (10th Cir. 1996) (citation omitted).

                                                         14
      Case 5:05-cr-40095-JAR              Document 103            Filed 11/19/07   Page 15 of 18




to the defendant at trial, and (3) protection from double jeopardy dangers.44 The purpose of a bill

of particulars is not to obtain discovery, evidentiary detail of the government’s case, or

information regarding the government’s legal theories.45

       Defendants focus on the portions of the Superseding Indictment contained in Count 1

with respect to the charge of conspiracy to distribute marijuana. At the hearing held on

September 28, 2007, the government noted that it has turned over substantially more materials to

defense counsel since the time the instant motion was filed on March 27, 2006. Accordingly, the

government stated, it believes defense counsel now has the detailed information it is requesting

in its motion. Defense counsel did not dispute the government’s position, but stated that the

details involving the marijuana charges were “important” to both defendants.

       The grant or denial of a defendant’s request for a bill of particulars rests within the

court’s sound discretion.46 In this case, the Superseding Indictment identifies the location of the

offense and the dates during which the conspiracy was ongoing. It is clear as to the names of the

co-conspirators and co-defendants that are allegedly involved. All of the controlled substances

that are allegedly part of the conspiracy are named, along with the amounts of each drug

recovered. As represented by the government, discovery provided to defendants disclose even

further the details regarding the conspiracy. Accordingly, defendants’ motion for a bill of

particulars is denied.

       5.       Motion to Sever



       44
         United States v. Gabriel, 715 F.2d 1447, 1449 (10th Cir. 1983).
       45
         United States v. Anderson, 31 F. Supp. 2d 933, 938 (D. Kan. 1998).
       46
         United States v. Levine, 983 F.2d 165, 166-67 (10th Cir. 1992).

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      Case 5:05-cr-40095-JAR                   Document 103            Filed 11/19/07           Page 16 of 18




        In a conspiracy case, there is a preference that defendants charged together be tried

together.47 “‘In deciding on a motion for severance, the district court has a duty to weigh the

prejudice resulting from a joint trial of co-defendants against the expense and inconvenience of

separate trials.’”48 To show prejudice, defendants must establish that “there is a serious risk that

a joint trial would compromise a specific trial right, or prevent the jury from making a reliable

judgment about guilt or innocence.”49

        In support of his motion to sever his trial from defendant Yuan’s, defendant Feng

expressed concern that he will be unjustifiably prejudiced by the introduction of Yuan’s post-

arrest confession, in which Yuan implicated not only himself, but defendant Feng as well.50 In

the alternative, he moves, pursuant to Bruton v. United States,51 for an order excluding or

redacting any confessions from non-testifying co-defendants.

        Defendant Feng has not shown a serious risk that a joint trial will compromise a specific

trial right or that a jury will be prevented from making a reliable judgment about guilt or

innocence. Moreover, the Court sees no reason at this point in the proceedings why redaction of

certain statements by co-defendant Yuan would not be sufficient to comply with Bruton and to

avoid unfair prejudice. The government stated that it would only offer defendant Yuan’s

statements to incriminate Yuan, and conceded at the September 28, 2007 hearing that the six



        47
             United States v. Small, 423 F.3d 1164, 1181 (10th Cir. 2005) (citation omitted).
        48
             Id. at 1181(quoting United States v. Hack, 782 F.2d 862, 870 (10th Cir. 1986)).
        49
             Zafiro v. United States, 506 U.S. 534, 539 (1993).
        50
             Defendant Yuan’s Motion to Suppress his confession was denied by the Court on September 19, 2006
(Doc. 71).
        51
             391 U.S. 123 (1968).

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      Case 5:05-cr-40095-JAR         Document 103         Filed 11/19/07     Page 17 of 18




statements by Yuan outlined in his Motion to Sever should not be admissible,52 adding that it had

enough other evidence against defendant Feng to offer at trial. Accordingly, defendant’s motion

to sever is denied. As a precaution, however, the Court will conduct a hearing prior to trial to

establish the admissible parameters of defendant Yuan’s statement.

       6.       Defendant Yuan’s Motions

       For the reasons stated on the record, the Court denies without prejudice defendant Yuan’s

motion for turnover of exculpatory evidence, and grants his motion for Giglio information.

       7.       Motion for Continuance

       For the reasons stated on the record, the Court grants defendants’ motion for continuance.

Trial is set for February 5, 2008.

       IT IS THEREFORE ORDERED BY THE COURT that defendants’ Motion for

Change of Venue (Doc. 49), Motion to Dismiss Count 1 (Doc. 53), Motion for Bill of Particulars

(Doc. 54) and Motion to Sever (Doc. 69) are DENIED;

       IT IS FURTHER ORDERED that defendants’ Motion for Discovery (Doc. 52) is

GRANTED IN PART AND DENIED IN PART;

       IT IS FURTHER ORDERED that defendant Yuan’s Motion for Turnover of

Exculpatory Evidence (Doc. 100) is DENIED without prejudice, and his Request for Giglio

Information (Doc. 101) is GRANTED;

       IT IS FURTHER ORDERED that trial is set for February 5, 2008.

       IT IS SO ORDERED.

       Dated this 19th day of November 2007.


       52
         (Doc. 64 at 3-4.)

                                                17
Case 5:05-cr-40095-JAR   Document 103    Filed 11/19/07     Page 18 of 18




                                      S/ Julie A. Robinson
                                     Julie A. Robinson
                                     United States District Judge




                                18
